 Case 22-10609-amc         Doc 44-7 Filed 04/05/22 Entered 04/05/22 17:02:55                     Desc
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                               :   CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                      :   BANKRUPTCY NO. 22-10609(AMC)

                                 Debtor          :


                                   CERTIFICATE OF SERVICE

         I, Aris J. Karalis, Esquire, hereby certify that on the S*** day of April, 2022 I directed to be

served a copy of the Notice of Application and Response Deadline on the Application of Debtor

for the Entry of an Order Authorizing the Retention and Employment of Bochetto & Lentz, P.C.

as Special Litigation Counsel Pursuant to 11 U.S.C. §§ 327(e) and 328(a), Fed. R. Bankr. P. 2014

and Local Bankruptcy Rule 2014-1 upon the parties on the attached list in the manner indicated

thereon.


                                                 KARALIS PC


                                                 By:     /s/ Aris J. Karalis_________________
                                                         ARIS J. KARALIS

                                                         Attorneys for the Debtor
Dated: April 5, 2022
               Case 22-10609-amc      Doc 44-7 Filed 04/05/22 Entered 04/05/22 17:02:55                          Desc
                                     Certificate of Service of Notice Page 2 of 2
VIA U.S. FIRST CLASS MAIL                 Federal Resources Financial Credit Union   Jersey Construction, Inc.
                                          520 Route 22 East                          838 Piney Hollow Road
                                          Bridgewater, NJ 08807                      P.O. Box 557
                                                                                     Hammonton, NJ 08037



MARX Sheet Metal & Mechanical Inc.        Louis N. Rothberg & Son, Inc.              IT Landes Company
373 High Street                           550 Cedar Avenue                           247 Main Street
Wilkes Barre, PA 18702                    Middlesex, NJ 08846                        Harleysville, PA 19438




2M Electric LLC                           Philadelphia Carpentry Systems             William Walter Construction Group LLC
109 Camars Drive                          5 N. Columbus Blvd., Pier 5                1431 N. Tuckahoe Road
Warwick, PA 18974                         Philadelphia, PA 19103                     Williamstown, NJ 08094




Reilly Glazing Inc.                       RDL Construction LLC                       1 st Black Hawk LLC
200 E. Washington Street                  1044 Industrial Drive, Unit 1              715 EastNields Street
Norristown, PA 19401                      West Berlin, NJ 08091                      West Chester, PA 19382




Fromkin Brothers Inc.                     Cippco Inc.                                Edward B. O’Reilly & Associates, Inc.
4510 Adam Circle, Unit E                  9323 Keystone Street                       30 West Highland Avenue
Bensalem, PA 19020                        Philadelphia, PA 19114                     Philadelphia, PA 19118




Mayfield Site Contractors                 Portugese Structural Steel, Inc.           Bristol Millwork Inc.
596 Swedeland Road                        255 South Street                           4560 Tacony Street
King of Prussia, PA 19406                 Newark, NJ 07114                           Philadelphia, PA 19124




VIP Construction Services, Inc.           Avon Brothers, Inc.
15 Fresh Ponds Road                       5021 Industrial Road
Monroe Twp., NJ 08831                     Farmingdale, NJ Q'l'lTl
